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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF COLUMBIA




In re:
                                                    Case No. 24-00159-ELG
Tsintolas Investments, Incorporated,
                                                    Chapter 11
                     Debtor.


                 NOTICE OF CONTINUED MEETING OF CREDITORS

         NOTICE IS HEREBY GIVEN that the meeting of creditors scheduled to be held on

Tuesday, August 6, 2024 at 2:00 p.m., has been continued to Thursday, September 5, 2024 at

10:00 a.m., and will be conducted telephonically. To participate in the meeting by telephone

interested parties should call (877) 465−7076 and enter the Passcode: 7191296#.

Dated: August 2, 2024                            Gerard R. Vetter,
                                                 Acting United States Trustee, Region Four

                                                 By: /s/ Kristen S. Eustis
                                                 Kristen S. Eustis, Trial Attorney
                                                 Federal Bar No. MD28984
                                                 Office of the United States Trustee
                                                 1725 Duke St., Suite 650
                                                 Alexandria, VA 22314
                                                 (703) 557-7227- Direct Dial
                                                 Kristen.S.Eustis@usdoj.gov
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                                    Certificate of Service

       I hereby certify that on August 2, 2024, I electronically filed the foregoing Notice with
the Clerk of the Court and served it via the Court’s CM/ECF system upon all counsel who have
entered an appearance in the case:

Kristen S. Eustis Kristen.S.Eustis@usdoj.gov, Robert.W.Ours@usdoj.gov

Stephen A. Metz smetz@offitkurman.com, mmargulies@offitkurman.com

U. S. Trustee for Region Four USTPRegion04.DC.ECF@USDOJ.GOV



                                                   /s/ Robert W. Ours
                                                   Robert W. Ours
                                                   Paralegal Specialist
